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         EXHIBIT 14
        to the Declaration of Qifan Huang
       PUBLIC VERSION - REDACTED
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                   Automated Madison uspension
                    Propagation s ide   ison)
           Date: Aug. 18, 2017
           Last updated: Sep. 6, 2017
           Contacts: ateh, christing, kevinzhu, noppenheim

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           Objective

           Expand suspensions due to copyright strikeout and webform abuse to   .




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           Background

           Types of suspensions


           The copyright team has two types of suspension reasons:
              1. Copyright suspension - a channel receives 3 or more copyright strikes (and either does
                 not have delayed strikeout or delayed strikeout has expired); suspension is initiated by
                 automated logic
              2. Webform abuse suspension - a channel is suspended for submitting abusive legal
                 requests; suspension is initiated manually by a human

           Propagation Rationale


           Per our .‘ •ieat infringer policy, users whose channels have been suspended for receiving 3 or
           more copyright strikes should have all linked channels suspended and be barred from creating
           new channels. We apply the same restriction to channels that have been suspended for
           webform abuse.

           Currently, it's possible for
                                                                                   . By having a loophole in
           the suspension process, we may take on heightened risk regarding compliance with the law. In
           addition, the loophole creates challenges with YouTube's relations with major labels. The labels
           often complain that it's easy for alleged infringers to continue their unlawful activity.

           The current system also keeps existing



                      This issue has become a source of escalations from Creator Support.

           Proposed Solution

           To help us bring our tools in line with our external policies and scale our ability to prevent repeat
           infringers, we will use the



           However, we will distinguish between low and high risk suspension propagations and build
           separate solutions depending upon the importance of the suspended channel.

           Prerequisites
               1. Create two new suspension types:




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                        a. Linked copyright suspension
                        b. Linked webform abuse suspension

           These two new types will complement the existing, old suspension types, and facilitate our
           scripts' automated suspension and reinstatement actions.

               2.




           St.ESpell30°",   3,ath'ms
           Low risk suspensions (everything except Segment 1-3, Torso/Premium, managed partners) will
           be propagated automatically via this M.A.D. query. The query will be run daily.




           Reinstatement




           Due Diligence


           To test our proposed model, we reviewed 450 suspension examples and analyzed different fact
           patterns and suspension scenarios. All examples resulted in the decision to fully propagate
           suspension to each linked channel.

           Understanding that there may be additional fact patterns not sampled in our testing data, we
           will build in several checks to mitigate false positives.




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           Risk Mitigation Steps

                  Exceptions to the suspension propagation rule
                      •   Suspensions won't be automatically propagated to high risk channels, which are
                          Torso, Premium, Segment 1-3, directly managed channels, or channels in the
                          AMP program -- these suspensions will be reviewed by humans in Cluster Review
                          before suspension
                      •   Channels with strikeout protection (Premium partners, channels with TVOD,
                          Trusted Advertisers, and direct-managed top creators) will be exempt from
                          automated suspension and Cluster Review enqueuing

                  Appwi i12.,
                      •   Any channel suspended via propagation will have the option to file an appeal.
                          Users will be notified via automated email notification when their linked channel
                          becomes suspended, and on appeal they'll get an email asking them to check
                          their initially-suspended channel's inbox. Expanded copyright suspension appeals
                          will be reviewed by humans to ensure the linkages appear to hold.
                      •   Overturned suspensions of individual channels will not propagate reinstatement
                          to all other linked channels. Only the specific appealed channel will be reinstated.

           Rollout Schedule

           Phase 1 (10/1/17)
              •   Turn on suspension propagation script, which begin affecting new suspended channels
                  and their linkages moving forward
              •   Close monitoring of high risk suspensions and appeals
              •   Close monitoring of automated suspensions, paying special attention to volume of
                  suspensions and spikes in suspension clusters

           Phase 2 (4 weeks;
              •   Evaluate false positive rates from reporting, Cluster Review, and appeals

           Phase 3 (8-12 weeks)
              •   Begin retroactive propagation on repeat infringer suspensions but not webform abuse
                  (because of legal risk)
              •   1 phase every 2 weeks + monitoring of response:
                      o Phase 1: Expand from channels suspended in 2017, Segments 3-6
                     o Phase 2: Expand from channels suspended in 2017, Segments 1-2
                      o Phase 3: Expand from channels suspended in 2016, Segments 3-6
                      o Phase 4: Expand from channels suspended in 2016, Segments 1-2




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                      o   etc

           We'll evaluate after each phase whether we had false positives or internal escalations
           surrounding any suspensions in that phase. If we encounter a lot of noise / swirl, we will halt
           expansions at that point and will not proceed unless we are confident in continuing. We likely
           won't expand past 2015 (3 years appears to be a reasonable statute of limitations).


           Impact

           Expected number of propagated suspensions


           Year             I Terminations    Expansion         Increase %       High Risk         High Risk %
                     2017I          273,860          33,890            12.37%€               98            0.29%
                     2016:          279,797          18,766             6.71W                68            0.36%
                     20151          269,894          15,393             5.70%,               35            0.23%.
                     2014           171,304           7,461             4.36%                19            0.25%i
                     2013I          165,127          13,579             8.22%€                9            0.07%
                     2012I          164,334           7,975             4.85%€                0            0.00%
                     20111          194,284           2,011             1.04%€                0            0.00%
                     20101          122,907               554           0.45%                 0            0.00%
           Total                  1,641,507          99,629             6.07%                229           0.23%

           For YTD 2017, 274k channels were suspended per copyright reasons. After applying our
           propagation logic, we estimate suspending an additional 34k channels, which is a 12%
           expansion.

           Per week, we estimate that around 1k channels will be suspended through propagation.

           Out of all expanded suspensions, about 0.3% of those are considered high risk (Torso,
           Premium, Established, Established+, or directly managed channels). The high risk channels will
           be reviewed manually before suspension.




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